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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


 OLIVER LUCK,                                     :     CASE NO. 3:20-cv-00516-VAB
                                                  :
                        Plaintiff,                :
                                                  :
 v.                                               :
                                                  :
 VINCENT K. MCMAHON and ALPHA                     :
 ENTERTAINMENT LLC,                               :
                                                        JULY 14, 2021
                                                  :
                        Defendants.


          DEFENDANTS’ MOTION TO COMPEL PLAINTIFF’S ANSWERS TO
      INTERROGATORIES AND MOTION TO DETERMINE THE SUFFICIENCY OF
      PLAINTIFF’S OBJECTIONS AND ANSWERS TO REQUESTS FOR ADMISSION

        Defendants Vincent K. McMahon (“McMahon”) and Alpha Entertainment LLC (“Alpha”)

(collectively, “Defendants”) file this Motion to Compel Plaintiff Oliver Luck (“Luck”) to answer

separately and fully Interrogatory Nos. 13-18 of Alpha’s Fourth Set of Interrogatories (“Alpha’s

Interrogatories”); to determine that Luck’s responses and objections to Defendants’ Second Set of

Requests for Admissions (the “RFAs”) do not comply with Rule 36 of the Federal Rules of Civil

Procedure; and to compel Luck to answer separately and fully McMahon’s Second Set of

Interrogatories (“McMahon’s Interrogatories”) which relate to the RFAs.

        For the reasons set forth more fully in the memorandum of law being filed concurrently

herewith, Defendants respectfully request that the Court grant Defendants’ Motion and: (1) order

Luck to answer fully and completely Alpha’s Interrogatories; (2) deem the RFAs admitted or order

Luck to serve amended answers to the RFAs; (3) order Luck to answer fully and completely

McMahon’s Interrogatories; and (4) order Luck to pay Defendants’ reasonable costs, including

attorneys’ fees, incurred in connection with the filing of this Motion as provided for in Rule 37 of

the Federal Rules of Civil Procedure.

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       WHEREFORE, Defendants respectfully request that the Court grant Defendants’ Motion;

order Luck to fully respond to Defendants’ discovery requests and to pay Defendants’ reasonable

costs, including attorneys’ fees, incurred in connection with the filing of the Motion; and award

Defendants all such other and further relief as the Court deems proper.

                                                     DEFENDANTS VINCENT K. MCMAHON
                                                     AND ALPHA ENTERTAINMENT LLC

                                                     By: /s/ Jerry S. McDevitt
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                                                     Their Attorneys.

                                CERTIFICATE OF SERVICE

        I hereby certify that, on July 14, 2021, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by email to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.


                                                     /s/ Jeffrey P. Mueller
                                                     Jeffrey P. Mueller (ct27870)



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